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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION

 In re:                                               §
                                                      §   Subchapter V
 Scott Vincent Van Dyke                               §
                                                      §   Case No. 21-60052
                       Debtor.                        §   Christopher M. Lopez


   DEBTOR SCOTT VINCENT VAN DYKE’S RESPONSE TO EMERGENCY JOINT
        MOTION FOR CONTINUANCE OF CONFIRMATION HEARING
                         (Docket no. 70 & 77)

To the Honorable Christopher M. Lopez:

       Scott Vincent Van Dyke, Debtor in the above Subchapter V case, responds in opposition
to the Emergency Joint Motion for Continuance of Confirmation Hearing (the “Motion”) as
follows:


          1.   Mr. Van Dyke admits paragraph 1 of the Motion.

          2.   Mr. Van Dyke admits paragraph 2 of the Motion as the parties have been working

towards scheduling a 2004 examination of Mr. Van Dyke by creditor Noel and Trustee Eva

Engelhart.

          3.    Mr. Van Dyke admits paragraph 3 to the extent that counsel for Engelhart, counsel

for Noel and the undersigned counsel have had multiple exchanges regarding document production

and scheduling of the examination. Mr. Van Dyke denies the remainder of paragraph 3 as Mr.

Van Dyke has produced all of the requested documents through two share file links that have been

provided to counsel for Trustee Engelhart and counsel for Noel. The 2004 requests filed by Trustee

Engelhart are voluminous in nature and have required that Mr. Van Dyke and his only

bookkeeper/comptroller expend numerous of hours scanning from paper files and retrieving the

requested documents.
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        4.      Mr. Van Dyke denies and objects to paragraph 4 of the Motion.

        5.      Mr. Van Dyke objects to an extension request of 30-60 days as a delay in

confirmation will result in the delay of Mr. Van Dyke obtaining investors in fund payments under

the proposed plan and commencing drilling. Mr. Van Dyke has verbally communicated with

several investors who have expressed concern regarding funding without a plan being confirmed

by the Bankruptcy. To the extent that this Court grant a continuance of confirmation, Mr. Van

Dyke requests that this extension be limited to a week extension as Mr. Van Dyke has been able

to produce all documents under the 2004 request.


        6.      Mr. Van Dyke objects to the relief requested in paragraph 6.

Wherefore, Scott Vincent Van Dyke, Debtor, respectfully requests that this Court deny the motion

or limit the continuance of the hearing on confirmation, and for all other relief to which he may be

entitled.


        Dated: November 18, 2021

                                              Respectfully submitted,

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